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                         EXHIBIT 4
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Petr Aven, Mikhail Fridman and German Khan v Orbis Business Intelligence
                                Limited

                                 Day 1

                            March 16, 2020




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   1       range of possibilities .                                    1    and President Putin , but perhaps the most striking is
   2           There are no notes or records of this meeting -- of     2    the statement that Mr Fridman and Mr Aven used
   3       these dealings and at present we know nothing more about    3    a Mr Oleg Govorun as a ”driver” and ”bag carrier ” to
   4       them. My Lord, that ’ s a point I ’ ll return to in due     4     deliver large amounts of illicit cash to President Putin
   5       course.                                                     5    when he was Deputy Mayor of St Petersburg.
   6           Mr Steele , following this interaction with his         6             There are two disputes about the personal data, as
   7       source, produced Memorandum 112. As the court knows,        7    your Lordship knows. The first concerns paragraph 1 and
   8       this is entitled , ”Company Intelligence Report 2016/112    8    paragraph 2. Going back to paragraph 1 {A/1/1},
   9       Russia/US Presidential Election Kremlin-Alpha Group         9    my Lord, there ’ s a dispute as to who is doing the
  10       Co-operation ”.                                            10     significant favours for President Putin in the first
  11           The title is misleading because the memorandum says    11    paragraph. We say that clearly what that means is the
  12       nothing at all about the US presidential election and      12    leading figures in Alfa , who are named in the previous
  13       the name of Alfa is spelled wrongly, which perhaps give    13    sentence, are the ones doing the significant favours .
  14       you some insight into how much care was taken with the     14    Companies have to act through their agents or employees
  15       preparation of the memorandum.                             15    and these are the named individuals and these are the
  16           The same day that that memorandum was given to         16    ones doing significant favours .
  17       Fusion, there were two other memoranda produced, 111 and   17             My Lord, that ’ s , as it were, a pure matter of
  18       113. It ’ s interesting to note that 111, the source is    18    construction .
  19       said to be a senior member of the Russian presidential     19             The second point is the suggestion in the second
  20       administration. One assumes that a senior member of the    20    paragraph concerning illicit cash, is that an allegation
  21       Russian presidential administration is perhaps more        21     of criminal wrongdoing? Again, that ’ s a matter for
  22       senior than a top level government official , but it       22    construction of that paragraph. The defendants make the
  23       seems two different sources are being referred to .        23    remarkable submission that illicit means furtive or
  24           My Lord, the memorandum itself, your Lordship will     24     secret , and so their case is what the memorandum is
  25       obviously have seen it on a number of occasions, is at     25    simply saying is that in the 1990s this was just an

                                  17                                                                    19

   1       {A/1/1}.                                                    1    ordinary patronage transaction .       They were just paying
   2   MR JUSTICE WARBY: Yes.                                          2    cash because everybody dealt in cash in those days and
   3   MR TOMLINSON: It’s a short document. It ’ s only two pages.     3    there was nothing wrong about it at all .
   4       It has a summary and then three numbered paragraphs.        4             My Lord, we say that ’ s an absurd construction and we
   5       What it is about is clear from the title , ”Co-operation    5    ask rhetorically : if this is just recording something
   6       between the Kremlin and Alfa Group and the claimants ”.     6    which was standard and obvious, why does it feature so
   7       My Lord, it is obvious, we say, from that memorandum        7    prominently in the memorandum? It features in the first
   8       that what is being said is that the relationship is         8    paragraph and of course it also features as the second
   9       a close and a corrupt one, that the claimants do            9    point of the summary.
  10       significant - - and President Putin do significant         10             Clearly what’s being said here about the claimants
  11       favours for each other, that they have paid him illicit    11     is that they engaged in the paying of a bribe to
  12       cash, they give him advice and do his political bidding.   12    a public official .       Any reasonable person, we say, would
  13       It ’ s also said that Alfa holds or held kompromat on      13    understand that.
  14       President Putin , that is to say compromising material.    14             My Lord, there ’ s a bit of side issue arisen in this
  15           It contains nothing at all about the US presidential   15    case, as your Lordship knows, because when we made
  16       election or anything that could possibly be related to     16     this - - when we said this alleged criminal offence , the
  17       national security of either the US or the UK. It ’ s       17    defendant said , ”Well, tell us what the criminal offence
  18       about Alfa , the claimants and President Putin .           18     is ”.     Now, my Lord, we don’t actually accept that we
  19           Mr Fridman is mentioned by name in the two pages six   19    have to do that because if it alleges a criminal offence
  20       times, Mr Aven by name five times, and Mr Khan once.       20    you don’t have to know what the criminal offence is .
  21       My Lord, it is common ground, as your Lordship knows,      21    Many people in England wouldn’t know -- probably most
  22       that the memorandum contains personal data about           22    people in England wouldn’t know what the offence was if
  23       Mr Fridman and Mr Aven in four categories , set out in     23    you were accused of paying money to a public official ,
  24       paragraph 6 of the particulars of claim. They all          24    what precise statute it was, but they would know it was
  25       concern close relationships between those individuals      25    an offence .      But in response to that request we produced

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   1       an expert report pointing out that this was an offence          1           Actually that was untrue, but never mind:
   2       under Article 174 of the Criminal Code of the Russian           2            ”... in reality , the ’ driver ’ and ’ bag carrier ’
   3       Soviet Federated Socialist Republic. My Lord, if that ’ s       3       [both in inverted commas -- sorry, over the page,
   4       that ’ s relevant , that ’ s our evidence and the defendant     4      {A/1/2}] used by Fridman and Aven to deliver large
   5       has no expert evidence to the contrary.                         5      amounts of illicit cash ...”
   6           So, my Lord --                                              6           So the ”driver” and ”bag carrier ”, in inverted
   7   MR JUSTICE WARBY: It is a bit like slander, I suppose, is           7      commas, is all telling us - - sending us the message that
   8       it ? You know, that category of slander which is                8       this man, although his official     title is head of
   9       actionable without proof of damage because it imputes           9      government relations, is really there to pay off public
  10       the commission of a criminal offence .                         10       officials .
  11   MR TOMLINSON: Yes.                                                 11   MR JUSTICE WARBY: Yes.
  12   MR JUSTICE WARBY: In that context you would have to - - you        12   MR TOMLINSON: My Lord, it is perhaps useful to say
  13       might have to , depending on the precise words -- spell        13      something at this stage about processing. Of course,
  14       out what the offence was, but if the words were, ”He was       14       this is a data protection claim, it relates to the
  15       guilty of a crime”, then you probably wouldn’t                 15      processing of personal data. That processing took place
  16       because --                                                     16      in a number of ways: the compilation of the memorandum,
  17   MR TOMLINSON: My Lord, so, for example, paying money to            17       its disclosure to Fusion, and its disclosure to third
  18       a public official is a very good example because my            18       parties .
  19       faint recollection is that until the Bribery Act came          19           Obviously we are not - - we still don’t know what
  20       along, this used to be an offence under the Prevention         20       third parties it was delivered to .     Mr Steele admits
  21       of Corruption Act 1911, but I suspect that 99.9% of the        21      a number of individuals .     The position is somewhat
  22       British population have never heard of that statute , but      22      unclear. We accept that the defendant is not
  23       everybody would know that if you said , ”He paid a bung,       23      responsible for the processing by other data
  24       or illicit cash to a public official ”, everybody would        24       controllers .   Obviously, what other data controllers do
  25       know you were saying a crime had been committed, even          25      with it is a matter for them and not for the defendant.

                                     21                                                                    23

   1       though they couldn’t actually identify what it was.             1           On the other hand, the defendant, we say, is
   2   MR JUSTICE WARBY: Yes, but if it wasn’t a public official           2      responsible for the damage caused by its own processing,
   3       under that Act then - -                                         3      which includes the damage -- the foreseeable damage
   4   MR TOMLINSON: If it wasn’t a public official , it wasn’t            4      caused when other people use or publish this memoranda.
   5       a crime, yes, quite .                                           5           We say, as we say in our reply , it was foreseeable
   6   MR JUSTICE WARBY: Wasn’t a crime. So under the old law you          6      and likely that Memorandum 112 would be disclosed to the
   7       might have had a bit of a problem with a slander, where         7      media, given its high profile subject matter.
   8       you would have to prove that the person being bribed was        8           The defendant admits the disclosure to Fusion and
   9       a public official , otherwise - -                               9      obviously, if it is disclosed to Fusion, it obviously
  10   MR TOMLINSON: Yes, but if you say they are a public                10      goes down the chain to the ultimate client .
  11       official , you take the notorious case of T Dan Smith          11           It also admits disclosure to a number of other
  12       that your Lordship may recollect from many years ago,          12       individuals .   My Lord, those are listed - - if
  13       who was being bribed by the architect John Poulson over        13      your Lordship looks at our skeleton argument at {A/2/9},
  14       public contracts , I mean, if someone said                     14      those are the recipients : Mr Strobe Talbott , who had
  15       a councillor - - I think he was the leader of Wandsworth       15      been a public official at one time but at that stage was
  16       Council - - is being paid money by an architect ,    illicit   16       retired ; an unidentified senior US national security
  17       money by an architect , everybody would know that you          17       official ; an unidentified senior UK Government national
  18       were saying he had committed a crime, even though you          18       security official , some former colleague; and then
  19       didn’t know precisely what it was called .                     19      David Kramer, who was a private individual , although was
  20           My Lord, that ’ s the primary position .                   20      provided with the memorandum for the purposes of passing
  21   MR JUSTICE WARBY: Yes.                                             21       it on to Senator John McCain, who at that stage
  22   MR TOMLINSON: It is interesting that the way it is put, all        22       certainly did have an official function .
  23       that points in the same direction , because we have:           23           The defendant seeks to divide the processing into
  24            ”... Govorun had been Head of Government Relations        24      two categories : Fusion disclosure and what they call
  25       at Alpha ...”                                                  25       national security disclosure .

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   1           My Lord, we don’t accept that there are national                  1   MR JUSTICE WARBY: No, I have just read - - so far I have
   2       security disclosures in this case. Your Lordship will                 2       just read what you asked me to read.
   3       know that there’s an exemption from certain principles                3   MR TOMLINSON: Yes.
   4       in the Data Protection Act under section 28 of the Data               4   MR JUSTICE WARBY: Because I thought I could get directed to
   5       Protection Act.      We deal with that at paragraphs 80 to            5       the bits that matter.
   6       82 of our skeleton , and the defendant at paragraphs 41               6   MR TOMLINSON: Well, yes. The report of the Inspector
   7       to 46.                                                                7       General is an extremely interesting document about the
   8           My Lord, our short answer to that is whatever the                 8       background to this .    It is all about the warrants that
   9       position in relation to the Trump -- the whole Trump                  9       were obtained. At paragraph 24 of our skeleton we deal
  10       dossier , as it has been called , we can see something of            10       with this {A/2/9}. The reference is to {D/131/155}.
  11       an argument which says: well , look, this is about the               11       D/131 is the Horowitz report and your Lordship will see
  12       potential US President being subject to blackmail by the             12       the footnote is about Report 112:
  13       Kremlin or having improper connections with the Kremlin              13             ”The Crossfire Hurricane team [which is the FBI
  14       and so on. One can see that in those circumstances it                14       investigators who are looking into the links between the
  15       might well be arguable that there were national security             15       Trump team and Russia] received Report 112 on or about
  16       reasons for disclosure , but Memorandum 112 has nothing              16       November 6, 2016, from a Mother Jones journalist through
  17       to do with any of that .       It has nothing to do with - -         17       then FBI General Counsel James Baker.”
  18       the only mention of candidate Trump is in the title .           It   18             In other parts of the report it makes clear that
  19       has nothing to do with the election .        It is about - - and     19       they didn’t receive this from Mr Steele .
  20       it doesn’t have anything to do with links between                    20              It is entirely unclear how the Mother Jones
  21       servers .     It is simply about the claimants, Alfa and             21       journalist got it .
  22       President Putin . We say that that has no national                   22   MR JUSTICE WARBY: Yes.
  23       security implications at all .       It ’ s certainly not - - its    23   MR TOMLINSON: Although we do know that Mr Steele admits to
  24       disclosure is certainly not required for the purposes --             24       having spoken to the Mother Jones journalist - -
  25       for national security purposes.                                      25   MR JUSTICE WARBY: Is there any controversy about the status

                                     25                                                                           27

   1           My Lord, we say, and there’ s a dispute of fact about             1       of this report evidentially ?
   2       this , that the memorandum was never actually provided to             2   MR TOMLINSON: I don’t think so. Not that I ’ m aware of.
   3       the FBI. Mr Steele decided, because he thought that the               3       It ’ s .
   4       results of his investigations were explosive , or what                4   MR JUSTICE WARBY: I mean, it’s a source of multiple hearsay
   5       his sources had told him, he decided to tell the FBI                  5       evidence of some kind.
   6       about it .     I showed your Lordship a note of a meeting             6   MR TOMLINSON: It certainly is hearsay evidence, my Lord, of
   7       from July .     He provided -- there ’ s no doubt he provided         7       course it is , but on the other hand the FBI interviewed
   8       certain memoranda to the FBI. But the FBI say that , ”He              8       something like 100 witnesses, including Mr Steele , and
   9       didn’t provide this memorandum to us”. Mr Steele says                 9       of course crucially what they had access to was their
  10       he did .     Well, my Lord, with respect to Mr Steele , the          10       documentary records.
  11       FBI’s evidence in relation to this is to be preferred ,              11   MR JUSTICE WARBY: Yes, I only ask because sometimes, as you
  12       particularly as Mr Steele , as your Lordship will have               12       know, there can be some debate about the status of
  13       seen from the supplemental statement that he served,                 13       findings in reports of this kind.
  14       can’ t even recollect when he was instructed to produce              14   MR TOMLINSON: Yes, my Lord.
  15       the memorandum. So the idea that he can accurately                   15   MR JUSTICE WARBY: What you’re showing me is a statement of
  16       recollect when he handed it to some third party is - -               16       fact .
  17   MR JUSTICE WARBY: Where do I get what the FBI say about                  17   MR TOMLINSON: Yes. I’m not saying it ’ s - - their assessment
  18       this ?                                                               18       of the witnesses and so on obviously has a very
  19   MR TOMLINSON: My Lord, it’s in our skeleton .         My Lord, if        19       different status , but this is a matter of fact .
  20       I can just - - if your Lordship will give me a moment.               20             Of course it is possible it is wrong and
  21       This in the report of the inspector general .                        21       your Lordship could of course believe Mr Steele , rather
  22   MR JUSTICE WARBY: Yes.                                                   22       than the FBI, but we say that really the position is
  23   MR TOMLINSON: And the report of the inspector general,                   23       clear that Mr Steele didn’t - - he obviously doesn’t
  24       which is - - I don’t know if your Lordship - - it is a               24       actually remember when he gave this memorandum and who
  25       very long document and your Lordship may --                          25       he gave it to , if one looks at his witness statement

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